             Case 2:16-cv-01571-DJH Document 1 Filed 05/20/16 Page 1 of 8



1    David J. McGlothlin, Esq. (SBN 026059)
     david@southwestlitigation.com
2    Hyde & Swigart
     2633 E. Indian School Road, Ste. 460
3    Phoenix, AZ 85016
     Telephone: (602) 265-3332
4    Facsimile: (602) 230-4482
5    Joseph A. Velez, Esq. (SBN 016059)
6    Law Office of Joseph A. Velez
     7272 E. Indian School Rd., Ste. 111
7    Scottsdale, AZ 85251
8    Phone 480.710.5079
     Fax     480.945.0553
9
10   Attorneys for Plaintiff
11                       UNITED STATES DISTRICT COURT
12                            DISTRICT OF ARIZONA
                                     )
13   James D. Valenzano, Sr.,           Case No.:
                                     )
14                                   )
                  Plaintiff,         ) COMPLAINT FOR DAMAGES
15                                      PURSUANT TO THE FAIR CREDIT
                          v.         ) REPORTING ACT, 15 U.S.C. § 1681,
16                                   ) ET SEQ.
     Experian Information Solutions, )
17   Inc.; New Penn Financial, LLC   )
18   d/b/a Shellpoint Mortgage       ) JURY TRIAL DEMANDED
     Servicing,                      )
19
                                     )
20                                   )
                  Defendants.
                                     )
21
                                      INTRODUCTION
22
23      1. The United States Congress has found the banking system is dependent upon
24         fair and accurate credit reporting. Inaccurate credit reports directly impair
25         the efficiency of the banking system, and unfair credit reporting methods
26         undermine the public confidence, which is essential to the continued
27         functioning of the banking system. Congress enacted the Fair Credit
28         Reporting Act, 15 U.S.C. § 1681 et seq. (“FCRA”), to insure fair and
     COMPLAINT                               1
           Case 2:16-cv-01571-DJH Document 1 Filed 05/20/16 Page 2 of 8



1         accurate reporting, promote efficiency in the banking system, and protect
2         consumer privacy. The FCRA seeks to ensure consumer reporting agencies

3         exercise their grave responsibilities with fairness, impartiality, and a respect
          for the consumer’s right to privacy because consumer reporting agencies
4
          have assumed such a vital role in assembling and evaluating consumer credit
5
          and other information on consumers. The FCRA also imposes duties on the
6
          sources that provide credit information to credit reporting agencies, called
7
          “furnishers.”
8
       2. James D. Valenzano, Sr.. (“Plaintiff”), by Plaintiff’s attorneys, brings this
9
          action to challenge the actions of Experian Information Solutions, Inc.
10
          (“Experian”), New Penn Financial, LLC d/b/a Shellpoint Mortgage
11
          Servicing and (“Shellpoint Mortgage”)(jointly as “Defendants”) with regard
12        to erroneous reports of derogatory and negative credit information made by
13        Defendants to national reporting agencies, and for failure of Defendants to
14        properly investigate, and this conduct caused Plaintiff damages.
15     3. Plaintiff makes these allegations on information and belief, with the
16        exception of those allegations that pertain to Plaintiff, or to Plaintiff’s
17        counsel, which Plaintiff alleges on personal knowledge.
18     4. While many violations are described below with specificity, this Complaint
19        alleges violations of the statute cited in its entirety.
20     5. Unless otherwise stated, all the conduct engaged in by Defendants took

21        place in Arizona.

22     6. Any violations by Defendants were knowing, willful, and intentional, and
          Defendant did not maintain procedures reasonably adapted to avoid any such
23
          violation.
24
       7. Unless otherwise indicated, the use of Defendants’ name in this Complaint
25
          includes all agents, employees, officers, members, directors, heirs,
26
          successors, assigns, principals, trustees, sureties, subrogees, representatives,
27
          and insurers of Defendants’ named.
28
     COMPLAINT                                 2
           Case 2:16-cv-01571-DJH Document 1 Filed 05/20/16 Page 3 of 8



1                                  JURISDICTION AND VENUE
2
      8. This Court has federal question jurisdiction because this case arises out of
3
          violation of federal law. 15 U.S.C. §1681 et seq.; 28 U.S.C. §1331;
4
          Jurisdiction arises for Plaintiff’s supplemental state claims under 28 U.S.C.
5         § 1367.
6     9. This action arises out of Defendants’ violations of the Fair Credit Reporting
7         Act, 15 U.S.C. §§ 1681-1681(x) (“FCRA”).
8     10. Venue is proper in the United States District Court for the District of
9         Arizona pursuant to 28 U.S.C. § 1391(b) because Plaintiff is a resident of
10        Maricopa County, the State of Arizona and Defendants are subject to
11        personal jurisdiction in the County of Maricopa, State of Arizona as they
12        conduct business there, and the conduct giving rise to this action occurred in
13        Arizona. 28 U.S.C. § 1391(b)(2).

14                                       PARTIES

15    11. Plaintiff is a natural person residing in the City of Maricopa, County of
          Pinal, State of Arizona. In addition, Plaintiff is a “consumer” as that term is
16
          defined by 15 U.S.C. § 1681a(c).
17
      12. Defendant Experian is a foreign limited liability company doing business in
18
          the State of Arizona.
19
      13. Defendant Shellpoint Mortgage is a foreign limited liability company doing
20
          business in the State of Arizona.
21
      14. Defendant Shellpoint Mortgage is a furnisher of information as
22
          contemplated by 15 U.S.C. § 1681s-2(b) that regularly and in the ordinary
23        course of business furnish information to a consumer credit reporting
24        agency.
25    15. Defendant Experian is a national credit reporting agency, doing business in
26        Arizona, with a principal place of business in Ohio.
27
28
     COMPLAINT                                3
           Case 2:16-cv-01571-DJH Document 1 Filed 05/20/16 Page 4 of 8



1                                GENERAL ALLEGATIONS
2
      16. At all times relevant, Plaintiff was an individual residing within the State of
3
          Arizona.
4
      17. At all times relevant, Defendants conducted business in the State of Arizona.
5     18. On or about October 14, 2009, Plaintiff filed for a Chapter 7 Bankruptcy in
6         the United States Bankruptcy Court for the District of Arizona in order to
7         obtain a fresh start and rebuild his credit. Plaintiff’s case was assigned Case
8         Number 2:09-bk-25925-RJH (the “Bankruptcy”).
9     19. The obligations (“Debt”) were scheduled in the Bankruptcy and the original
10        creditor received notice of the Bankruptcy.
11    20. On or about January 26, 2010, Plaintiff received a Bankruptcy discharge.
12    21. The original creditor for this Debt did not file any proceedings to declare
13        their Debt “non dischargeable” pursuant to 11 U.S.C. § 523 et seq.

14               Shellpoint Mortgage Misreported Credit Information

15    22. In an Experian credit report dated February 23, 2016, Shellpoint Mortgage
          reported the following inaccurate, derogatory information:
16
              • Account No. 53284…. Payment history included 180 days late
17
                 for March 2014 through February 2015 and May 2015. Also
18
                 “ND” for No Data was reported for March and April of 2015.
19
20
       23. Shellpoint Mortgage should not have reported derogatory information on
21
          Plaintiff’s account after October 14, 2009, because Plaintiff filed for
22
          Bankruptcy on October 14, 2009.
23     24. On or about February 4, 2016 Plaintiff had his attorney send a detailed
24        dispute letter directly to Shellpoint Mortgage in an attempt to correct their
25        erroneous reporting.
26     25. On or about February 9, 2016 Shellpoint Mortgage sent Plaintiff a letter
27        directly in response to Plaintiff’s attorney’s dispute letter, in which
28
     COMPLAINT                               4
           Case 2:16-cv-01571-DJH Document 1 Filed 05/20/16 Page 5 of 8



1         Defendant Shellpoint Mortgage asserted they were correctly reporting the
2         debt in question.

3     26. On or about March 3, 2016, Plaintiff disputed Shellpoint Mortgage’s
          reported information regarding the Debt pursuant to 15 U.S.C. § 1681I(a)(2)
4
          by notifying Experian, in writing, of the incorrect and inaccurate credit
5
          information furnished by Shellpoint Mortgage.
6
      27. Specifically, Plaintiff sent a letter to Experian (the “Experian Dispute
7
          Letter”), requesting the above inaccurate and incorrect derogatory
8
          information be removed. Plaintiff clearly identified the alleged errors as well
9
          as provided copies of his previous dispute letter, and proof of the bankruptcy
10
          filing and discharge.
11
      28. Upon information and belief, Experian timely notified Shellpoint Mortgage
12        of Plaintiff’s dispute, but Shellpoint Mortgage continued reporting
13        derogatory information.
14    29. Shellpoint   Mortgage     and   Experian    were   required   to   conduct   a
15        reinvestigation into this specific account on Plaintiff’s consumer report
16        pursuant to 15 U.S.C. §1681i.
17    30. On or about April 14, 2016, Plaintiff received notification from Experian
18        that Shellpoint Mortgage and Experian received notice of Plaintiff’s dispute
19        pursuant to 15 U.SC. § 1681i(a)(6), and Defendants verified the account had
20        been updated.

21    31. Surprisingly, rather than remove all the derogatory information from

22        Plaintiff’s report, Shellpoint Mortgage and Experian simply left derogatory
          information on Plaintiff’s report.     Specifically, Shellpoint Mortgage and
23
          Experian reported the following inaccurate, derogatory information:
24
             • Account No. 53284…. Payment history included 180 days late
25
                 for March 2014 through February 2015 and May 2015. Also
26
                 “ND” for No Data was reported for March and April of 2015.
27
28
     COMPLAINT                               5
           Case 2:16-cv-01571-DJH Document 1 Filed 05/20/16 Page 6 of 8



1                Finally, the account history states, “Debt included in Chapter 7
2                Bankruptcy on Jan 18, 2016.”

3     32. Shellpoint Mortgage reporting that Plaintiff was 180 days past due in 2014
          and 2015 is inaccurate as Plaintiff discharged all personal liability in his
4
          bankruptcy.
5
      33. Additionally stating the debt was “included in Chapter 7 Bankruptcy on Jan
6
          18, 2016” is clearly erroneous as Plaintiff’s bankruptcy discharged on
7
          January 26, 2010.
8
      34. Shellpoint Mortgage and Experian, upon receipt of Plaintiff’s dispute, failed
9
          to conduct an investigation with respect to the disputed information as
10
          required by 15 U.SC. § 1681s-2(b)(1)(A).
11
      35. Shellpoint Mortgage and Experian failed to review all relevant information
12        provided by Plaintiff in the dispute to Experian, as required by and in
13        violation of 15 U.SC. § 1681s-2(b)(1)(B).
14    36. Due to Shellpoint Mortgage and Experian’s failure to investigate, they each
15        further failed to correct and update Plaintiff’s information as required by 15
16        U.S.C. § 1681s-2(b)(1)(E), thereby causing continued reporting of
17        inaccurate information in violation of 15 U.S.C. § 1681-s(2)(b)(1)(C).
18    37. Plaintiff’s continued efforts to correct Shellpoint Mortgage and Experian’s
19        erroneous and negative reporting of the Debt by communicating Plaintiff’s
20        dispute with Shellpoint Mortgage and Experian were fruitless.

21    38. Shellpoint Mortgage and Experian’s continued inaccurate and negative

22        reporting of the Debt in light of its knowledge of the actual error was willful.
      39. Shellpoint Mortgage and Experian’s inaccurate and negative reporting
23
          damaged Plaintiff’s creditworthiness.
24
      40. By inaccurately reporting account information relating to the Debt after
25
          notice and confirmation of its errors, Shellpoint Mortgage and Experian
26
          failed to take the appropriate measures as determined in 15 U.S.C. §§ 1681-
27
          s(2)(b)(1)(D) and (E).
28
     COMPLAINT                                6
           Case 2:16-cv-01571-DJH Document 1 Filed 05/20/16 Page 7 of 8



1     41. As a result of Defendant’s conduct Plaintiff suffered actual damages in the
2         form of attorney’s fees to try to remedy the errors, lower credit scores, as

3         well as being prevented from purchasing a house.
      42. Defendant’s actions also caused Plaintiff to suffer emotional distress and
4
          mental anguish type damages which manifested in symptoms including but
5
          not limited to: stress, anxiety, worry, pessimism, frustration, embarrassment,
6
          and humiliation all affecting his personal and professional relationships as
7
          well as impacting his job.
8
9                               FIRST CAUSE OF ACTION
10                  VIOLATION OF THE FAIR CREDIT REPORTING ACT
11                           15 U.S.C. § 1681 ET SEQ. (FCRA)
12
      43. Plaintiff incorporates by reference all of the above paragraphs of this
13
          Complaint as though fully stated herein.
14
      44. The foregoing acts and omissions constitute numerous and multiple willful,
15
          reckless or negligent violations of the FCRA, including but not limited to
16        each and every one of the above-cited provisions of the FCRA, 15 U.S.C §
17        1681.
18    45. As a result of each and every willful violation of the FCRA, Plaintiff is
19        entitled to actual damages as the Court may allow pursuant to 15 U.S.C. §
20        1681n(a)(1); statutory damages pursuant to 15 U.S.C. § 1681n(a)(1);
21        punitive damages as the Court may allow pursuant to 15 U.S.C. §
22        1681n(a)(2); and reasonable attorney’s fees and costs pursuant to 15 U.S.C.
23        § 1681n(a)(3) from Defendants.
24    46. As a result of each and every negligent noncompliance of the FCRA,

25        Plaintiff is entitled to actual damages as the Court may allow pursuant to 15

26        U.S.C. § 1681o(a)(1); and reasonable attorney’s fees and costs pursuant to
          15 U.S.C. § 1681o(a)(2) from Defendants.
27
28
     COMPLAINT                              7
            Case 2:16-cv-01571-DJH Document 1 Filed 05/20/16 Page 8 of 8



1                                    PRAYER FOR RELIEF
2
           Plaintiff respectfully requests the Court grant Plaintiff the following relief
3
     against Defendants:
4
                                       First Cause Of Action
5                          Violation Of The Fair Credit Reporting Act
6                                15 U.S.C. § 1681 et seq. (FCRA)
7
8         • an award of actual damages pursuant to 15 U.S.C. § 1681n(a)(1);
          • award of statutory damages pursuant to 15 U.S.C. § 1681n(a)(1);
9
          • an award of punitive damages as the Court may allow pursuant to 15
10
             U.S.C. § 1681n(a)(2);
11
          • award of costs of litigation and reasonable attorney’s fees, pursuant to 15
12
             U.S.C. § 1681n(a)(3), and 15 U.S.C. § 1681(o)(a)(1) against Defendants
13
             for each incident of negligent noncompliance of the FCRA; and
14
          • any other relief the Court may deem just and proper.
15
16                                       TRIAL BY JURY
17
       47. Pursuant to the seventh amendment to the Constitution of the United States
18
           of America, Plaintiff is entitled to, and demands, a trial by jury.
19
20   Dated: May 20, 2016                                  Respectfully submitted,
21
                                                   BY: /S/ DAVID J. MCGLOTHLIN
22                                                        DAVID J. MCGLOTHLIN, ESQ.
23                                                        ATTORNEY FOR PLAINTIFF
24
25
26
27
28
     COMPLAINT                                 8
